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  March 23, 2023

  BY ECF

  The Honorable Ann M. Donnelly
  U.S. District Court for the Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

  Re:      Henkin, et al. v. Qatar Charity, et al., 1:21-cv-05716-AMD-VMS

  Dear Judge Donnelly:

          We write on behalf of Defendant Masraf Al Rayan (“MAR”) in further support of MAR’s
  Motion to Dismiss the Complaint (ECF No. 56) and pursuant to the Court’s order that the parties
  file supplemental letters to address recent decisions that are relevant to the issues before the Court.1
  For the reasons set forth in MAR’s Motion to Dismiss, the reply, and the arguments raised during
  oral argument, Plaintiffs’ Complaint should be dismissed in its entirety with prejudice.
  Amendment would not only be futile, but Plaintiffs expressly declined to amend the Complaint
  despite being offered the opportunity to do so by the Court. (March 16, 2023 Oral Argument
  Transcript (“Tr.”) 31:9-10). Recent decisions underscore that dismissal is warranted.

  I.       Przewozman v. Qatar Charity, et. al

          During oral argument on March 16, 2023, the Court asked the parties whether Judge
  Garaufis or Judge Cogan had ruled on Defendants’ motions in Przewozman v. Qatar Charity, et.
  al., 20-cv-6088-NGG-TAM (“Przewozman”), and Force v. Qatar Charity, et. al., 20-cv-02578-
  BMC, respectively. The day after oral argument, on March 17, 2023, Judge Garaufis granted
  MAR’s motion to dismiss in Przewozman, dismissing the complaint in its entirety without
  prejudice and expressly denying plaintiffs’ request for jurisdictional discovery. (See generally
  ECF No. 76-1). The Court’s reasoning in Przewozman, which alleges injuries arising from a 2019
  attack, applies to this action, which alleges injuries arising from attacks in 2015 and 2018. (See
  Compl. ¶¶ 25, 33).

         First, Judge Garaufis concluded that the Court lacked personal jurisdiction over MAR
  because the Przewozman complaint’s allegations failed to satisfy the personal availment
  requirement, explaining that the factual inquiry required under Licci ex rel. Licci v. Lebanese

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   MAR moved to dismiss the Complaint pursuant to Rules 12(b)(2), 12(b)(5), and 12(b)(6) of the Federal Rules of the
  Civil Procedure. However, on August 16, 2022, MAR withdrew its challenges to service of process. (ECF No. 70).


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  Canadian Bank, SAL, 732 F.3d 161 (2d Cir. 2013) was “virtually impossible.” (ECF No. 76-1 at
  23 n.14). The same paucity of allegations in the Henkin Complaint warrant dismissal of this action
  for lack of personal jurisdiction.2

          Second, in addition to deficiencies associated with personal availment, Judge Garaufis held
  that the Przewozman complaint failed to assert allegations sufficient to meet the nexus requirement
  under New York’s long-arm statute or to comply with due process pursuant to Rule 4(k)(2) of the
  Federal Rules of Civil Procedure. In so holding, Judge Garaufis concluded that “[t]here is no basis
  from which the court can conclude that ‘the correspondent account at issue’ was ‘used as an
  instrument to achieve the very wrong alleged.’” (ECF No. 76-1 at 31-32 (quoting Licci, 732 F.3d
  at 171)). The same nexus deficiencies apply to the Henkin Complaint. As to the 2018 attack, a
  similar “temporal gap” is “fatal” to Plaintiffs’ allegations. (Id. at 27, 31-32). As to the earlier
  attack, “[t]he Plaintiffs’ general allegations of how Hamas and PIJ used money entirely fails to
  show 2015 (or earlier) transfers were used ‘in the course of’” the attack in 2015 because the
  relationship between the correspondent bank transfers and the attacks is too attenuated. (Id. at 27).

          Finally, Judge Garaufis concluded that “[a]ny jurisdictional discovery at this stage would
  [] amount to a fishing expedition” because the Przewozman complaint is “wholly silent” about the
  existence of correspondent banking transactions that did not predate Plaintiffs’ injuries by years.
  (ECF No. 76-1 at 39). The same reasoning should apply to the Henkin Complaint; any
  jurisdictional discovery would be tantamount to a fishing expedition and could not cure the
  Complaint’s deficiencies.

           In addition, while Judge Garaufis declined to reach MAR’s merits arguments, the
  Przewozman opinion properly notes that plaintiffs’ allegations (contained in both complaints) as
  to the “direct connections between Qatar Charity and a variety of terrorist organizations around
  the world” are not “relevant for the purposes of Plaintiffs’ claims” except as to Hamas and PIJ.
  (Id. at 4). Furthermore, critically, “[t]he Complaint includes no allegation that the United States
  designated Qatar Charity as a Foreign Terrorist Organization (‘FTO’) or Specially Designated
  Global Terrorist (‘SDGT’).” (Id.).

  II.     The Justice Against Sponsors of Terrorism Act (“JASTA”)

          While Plaintiffs repeatedly asserted at oral argument that they would be able to sustain
  their burden as to personal jurisdiction if they were allowed to take discovery first, the Court can
  dismiss the Complaint in its entirety with prejudice pursuant to Rule 12(b)(6), mooting the issue
  of jurisdictional discovery. See Wildman v. Deutsche Bank Atkiengesellschaft, 21-cv-04400
  (HG)(RML), 2022 WL 17993076, at *1 n.2 (E.D.N.Y. Dec. 29, 2022) (“Because the Court grants
  Defendants’ motions to dismiss for failure to state a claim, it does not reach the merits of
  [Defendants’] other arguments.”). Recent decisions under JASTA support such a result.


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    Judge Garaufis credited MAR’s assertion, made in both actions, that “Plaintiffs fail to identify what amount or
  frequency of the alleged funds were actually U.S. dollars versus Euros, meaning their allegation may amount to only
  a de minimis amount of dollars passing through New York.” (ECF No. 76-1 at 23 n.14 (quotations omitted)); (see
  also Tr. 12:14-15 (“We don’t have a denomination with respect to how much is dollars versus how much is Euros.”));
  (see id. 20:15-20 (Plaintiffs vaguely alleging that Defendants were “regularly passing dollars through the American
  banking system” but that Plaintiffs “have to admit [they] don’t have a dollar amount”)).


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          First, it is telling that Plaintiffs stated at oral argument that Freeman v. HSBC Holdings
  PLC, 57 F.4th 66 (2d Cir. 2023) was “the most important case” published since the parties’ briefing
  was filed last year. (Tr. 50:6-9). In Freeman, the Second Circuit affirmed dismissal of a complaint
  alleging a JASTA conspiracy violation because it failed to allege “an agreement between the Banks
  and the terrorist groups” and that the attacks at issue were not alleged to “further[] a conspiracy in
  which the Banks were participants.” Freeman, 57 F.4th at 80. MAR thus agrees that Freeman is
  important—it compels dismissal of Plaintiffs’ conspiracy liability claim.3

          At oral argument, Plaintiffs indicated that their own letter to the Court will reference
  Freeman’s conclusion that “a JASTA conspiracy claim [does not] require[] a direct connection
  between the defendant and the person who commits an act of international terrorism.” Id. at 79.
  However, as Judge Jacobs’ concurrence notes, that “observation is dicta because, as we all agree,
  it does not affect the result.” Id. at 84 (Jacobs, J., concurring). While MAR agrees with Judge
  Jacobs that the dicta “is wrong,” id., the circumstances are the same as in Freeman: because the
  Complaint fails to allege the existence of a conspiracy or any acts in furtherance of one, the Court
  can dismiss Plaintiffs’ JASTA conspiracy claim without reaching the issue of whether or not
  Plaintiffs are required to allege that MAR conspired with Hamas or any of its members directly.4

          Second, Wildman’s dismissal of JASTA allegations is instructive. There, the court
  dismissed aiding-and-abetting violations because, among other reasons, “the Court cannot infer
  that…Defendants were generally aware while they were providing banking services to those
  entities that they were playing a role in unlawful activities from which Syndicate attacks in
  Afghanistan were foreseeable.” Wildman, 2022 WL 17993076, at *12 (quoting Honickman v.
  BLOM Bank SAL, 6 F.4th 487, 499 (2d Cir. 2021)) (brackets and ellipses omitted). That Qatar
  Charity, for example, allegedly “used its accounts at [MAR]…purportedly for humanitarian
  purposes such as assisting Syrian refugees” (Compl. ¶ 146) demonstrates that Qatar Charity’s
  “breadth of organizations and activities” are inconsistent with a finding that it is as “closely
  intertwined with [Hamas or PIJ]” as required under JASTA. Wildman, 2022 WL 17993076, at
  *12 (quoting Honickman, 6 F.4th at 499). In addition, Wildman provides further support for the
  proposition that “routine banking services” do not provide a basis for a finding of general
  awareness or substantial assistance under JASTA. See, e.g., Wildman, 2022 WL 17993076, at
  *20. That Plaintiffs have failed to allege any transactions that are unusual or extraordinary for a

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    The Second Circuit found “that the district court acted within in its discretion in declining to consider Plaintiffs’
  untimely aiding-and-abetting claims.” Id. at 83-84.
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    But see King v. Habib Bank Limited, 20-cv-4322 (LGS), 2022 WL 4537849, at *11 (S.D.N.Y. Sept. 28, 2022)
  (holding that “the perpetrator of the attack” must only “be a member of the same conspiracy as Defendant,” and it is
  not necessary for them to conspire directly). King dealt with a defendant bank that “maintained bank accounts for the
  founders of al-Qaeda” and other terrorists “despite their being placed on the U.S. government’s Specialty Designated
  Nationals and Blocked Persons list or designated as Specially Designated Global Terrorists,” and also involved
  allegations that the defendant bank provided “non-‘routine’ banking services to terrorists and their allies.” Id. at *7.
  The complaint there also alleged that the defendant “was repeatedly warned about ARB’s ties to terrorism and
  continued to permit ARB to be one of its biggest U.S. dollar-clearing customers.” Id. at *8. All of these allegations,
  or anything approaching them, are missing from Plaintiffs’ Complaint. However, that even the primary liability claims
  in King were dismissed underlines how baseless Plaintiffs’ primary liability claims are. Id. at *5 (“The Complaints
  allege that Defendants provided financial services to terrorists and the purpose of these transactions was to provide
  illegal support to terrorists engaged in extreme violence. The Complaints do not, however, allege the kind of direct
  connection to violence or endangerment of human life that would render such financial services ‘acts of international
  terrorism’ themselves. The primary liability claims are therefore dismissed.”) (quotations omitted).


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  bank like MAR is significant—the Wildman opinion uses the phrase “routine banking services”
  12 times.5

          Finally, looking beyond the Second Circuit, Bernhardt v. Islamic Republic of Iran is
  relevant to consideration of Plaintiffs’ allegations. 47 F.4th 856 (D.C. Cir. 2022). There, the D.C.
  Circuit declined to find the complaint at issue stated a JASTA aiding-and-abetting claim even
  where it alleged that “HSBC had client banks with ties to terrorist organizations and admitted to
  helping those banks evade U.S. sanctions.” Id. at 870. The court reasoned that to find “general
  awareness on the facts here would mark an extension of aiding and abetting liability not supported
  by the ATA” and that “[t]he general awareness element is particularly important in indirect aiding
  and abetting claims to ‘avoid subjecting incidental participants to harsh penalties or damages.’”
  Id. (quoting Halberstam v. Welch, 705 F.2d 472, 485 (D.C. Cir. 1983)). Even though the complaint
  allowed for the plausible inference “that Al Rajhi Bank maintained connections to al-Qaeda,”
  because “Bernhardt does not allege that HSBC was aware of these connections,” the D.C. Circuit
  affirmed dismissal of the complaint. Bernhardt, 47 F.4th at 869. The D.C. Circuit further held
  that the complaint failed to meet the substantial assistance requirement and failed to state a claim
  for JASTA conspiracy liability. Id. at 870-73.

  III.    Personal Jurisdiction

        Intervening decisions related to personal jurisdiction also compel a finding that the
  Complaint should be dismissed.

          In its Memorandum of Law, MAR cited Daou v. BLC Bank, S.A.L., No. 20-cv-4438 (DLC),
  2021 WL 1338772 (S.D.N.Y. Apr. 9, 2021); the Second Circuit has since affirmed Daou. 42 F.4th
  120 (2d Cir. 2022). There, the court held that plaintiffs did not allege personal jurisdiction over
  the defendant bank because “the alleged use of a New York correspondent account was not part of
  a specific transaction underlying a claim” in the complaint. Id. at 132. Moreover, that the
  defendant bank “used [New York correspondent accounts] to transfer some of the millions of
  dollars in the [plaintiffs’] accounts into Lebanon” is “merely coincidental” because the defendant
  bank “could have routed the [plaintiffs’] USD deposits through correspondent accounts in Florida,
  London, or Switzerland.” Id. The Second Circuit’s emphasis that the New York long-arm statute’s
  nexus requirement “limits” jurisdiction to those claims that are “arguably connected to the
  transaction” requires dismissal of Plaintiffs claims. Id. at 130. Plaintiffs allege that Hamas
  received an unspecified amount of funds from Hamas-affiliated charities controlled by Hamas,
  who received those funds from Qatar Charity’s Palestinian branches, who received those funds
  from Qatar Charity’s Doha account, through transactions with New York correspondent banking
  accounts maintained by MAR. (See Compl. ¶¶ 10-11, 127); (see also Tr. 8:5-7) (admitting the


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   Bonacasa v. Standard Chartered PLC and Standard Chartered Bank, 22-cv-3320, 2023 WL 2390718 (S.D.N.Y.
  Mar. 7, 2023) is inapposite. There, the court relied on the allegation that “U.S. officials explicitly told Standard
  Chartered executives at a meeting in New York” that “it was playing a role in the IED-making operations of al-Qaeda,”
  giving rise to an inference of not just general awareness but specific awareness. Id. at *10. Moreover, Bonacasa is
  also plainly distinguishable from the matter at hand with regards to this Court’s personal jurisdiction analysis. The
  defendant bank in Bonacasa had its United States headquarters in New York and had been transacting business there
  “[f]or decades.” Id. at *5. Here, Plaintiffs acknowledge MAR has no New York branch or office. (Compl. ¶¶ 72,
  156).


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  funds went from Qatar Charity’s Palestinian branches to Hamas-affiliated entities, not Hamas).
  Such a chain is far too “attenuated.” Daou, 42 F.4th at 130 (quotations omitted).

          The application of Daou in Reed International, Inc. v. Afghanistan Int’l Bank is also
  analogous to the facts here. 21-cv-10626 (ER), 2023 WL 2138600 (S.D.N.Y. Feb. 21, 2023). “To
  confer long-arm jurisdiction, the correspondent banking account must have some relationship to
  the claims alleged from which the court can infer that the correspondent account played any role
  in the alleged injury.” Id. at 6. Here, as in Reed, Plaintiffs “fail to connect [the] transfers to the
  claim at issue” because the causal chain is too attenuated. Id. at 7.6

  IV.     Conclusion

         While Judge Garaufis has given the Przewozman plaintiffs 30 days to amend their
  complaint, here, after MAR’s Motion to Dismiss has been fully briefed for a year, Plaintiffs
  declined to amend the Complaint at oral argument, forfeiting their opportunity to do so upon
  dismissal. Honickman v. BLOM Bank SAL, 19-cv-0008 (KAM)(SMG), 2022 WL 1062315, at *4
  (E.D.N.Y. Apr. 8, 2022) (denying plaintiffs’ motion for vacatur of the dismissal of their JASTA
  claims because “the Second Circuit has clarified that a district court may dismiss a complaint
  without granting leave to amend where, as here, the Plaintiffs previously declined an opportunity
  to amend their complaint.”); (see also Tr. 31:9-10 (The Court: “I think we did discuss…whether
  you wanted to amend, didn’t we?” Mr. Bonner: “We don’t feel we need to amend, Your Honor.”)).
  For the foregoing reasons, MAR respectfully renews its request that the Court dismiss Plaintiffs’
  Complaint in its entirety, with prejudice.

                                                               Respectfully submitted,

                                                               /s/ Carolina A. Fornos

                                                               Carolina A. Fornos
                                                               Aryeh L. Kaplan (pro hac vice)

                                                               Counsel for Defendant Masraf Al Rayan


  cc: All counsel of record (by ECF)




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   King is again inapposite, as plaintiffs there alleged that the “Defendant used its New York branch – and hence New
  York’s banking system.” King, 2022 WL 4537849, at *3. Plaintiffs make no such allegation here. See supra n.6;
  (Compl. ¶¶ 72, 156).


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